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               UNITED STATES OF AMERICA
                                       V.
               JESUS MANUEL MENOCAL, JR.



                 CASE NO.: 19-CR-20822-KMW



                              “EXHIBIT C”
                              - Menocal International Training
                                Fundraiser for officer Matthew Larsh
                                Instagram Post dated April 24, 2022
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           https://www.instagram.com/p/CcvGQvkOZzN/?igshid=YTM0ZjI4ZDI=
